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AO 245B (MIWD Rev. 12/16)- Judgment in a Criminal Case



                                  United States District Court
                                                   Western District of Michigan

UNITED STATES OF AMERICA                                     JUDGMENT IN A CRIMINAL CASE

-vs-                                                                Case Number: 1:17-CR-151-01

ANTHONY DWAYNE MCCLOUD, II
                                                                    USM Number: 13062-040

                                                                    Larry C. Willey
                                                                    Defendant’s Attorney

THE DEFENDANT:
: pleaded guilty to Counts 1 and 8 of the Indictment.
9 pleaded nolo contendere to Count(s) ___, which was accepted by the court.
9 was found guilty on Count(s) ___ after a plea of not guilty.
The defendant is adjudicated guilty of these offense(s):


 Title & Section                                              Offense Ended                Count No.
 21 U.S.C. §§ 846 and 841(a)(1), (b)(1)(A)(viii)              July 6, 2017                     1
 21 U.S.C. § 841(a)(1), (b)(1)(B)                             July 6, 2017                     8

Nature of Offense

Ct. 1 - Conspiracy to Distribute and Possess with Intent to Distribute Methamphetamine

Ct. 8 - Possession with Intent to Distribute Controlled Substances

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

: Counts 2-7, 9-10 of Indictment, as well as 851 Notices, are dismissed on the motion of the United States.
IT IS ORDERED that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
attorney of material changes in economic circumstances.

                                                             Date of Imposition of Sentence: December 11, 2018


Date:      December 12, 2018                                 /s/ Robert J. Jonker
                                                             ROBERT J. JONKER
                                                             CHIEF UNITED STATES DISTRICT JUDGE
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                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of one hundred eighty (180) months as to each of Counts 1 and 8, to run concurrently.

:        The Court makes the following recommendations to the Bureau of Prisons:

         - That the defendant receive a substance abuse assessment and treatment.
         - That the defendant receive educational and vocational training opportunities.
         - That the defendant receive a mental health assessment and treatment as appropriate.
         - That the defendant be placed in Milan, which is near his family, and a BOP location in which he made
           successful progress in his view.




:    The defendant is remanded to the custody of the United States Marshal.
9    The Defendant shall surrender to the United States Marshal for this district:
        9 at _______________ on __________________.
        9 as notified by the United States Marshal.

9 The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
     9 before 2:00 P.M. on __________.
     9 as notified by the United States Marshal.
     9 as notified by the Probation or Pretrial Services Office.




                                                              RETURN

I have executed this judgment as follows:




         Defendant delivered on                                                to

at                                                       , with a certified copy of this judgment.



                                                                         United States Marshal


                                                                         By:
                                                                                    Deputy United States Marshal
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                                                          SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years as to
each of Counts 1 and 8, to run concurrently.


                                                         MANDATORY CONDITIONS

1.       You must not commit another federal, state or local crime.

2.       You must not unlawfully possess a controlled substance.

3.       You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within
         15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the
         Court.
                   9         The above drug testing condition is suspended, based on the Court’s determination that you
                             pose a low risk of future substance abuse. (check if applicable)

4.       :         You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)

5.       9      You must comply with the requirements of the Sex Offender Registration and Notification Act (42
         U.S.C. § 16901, et seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex
         offender registration agency in which you reside, work, are a student, or were convicted of a qualifying
         offense. (check if applicable)

6.       9         You must participate in an approved program for domestic violence. (check if applicable)


You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page.
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                                          STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions
are imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum
tools needed by probation officers to keep informed, report to the Court about, and bring about improvements in your conduct
and condition.

1.       You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours
         of your release from imprisonment, unless the probation officer instructs you to report to a different probation office
         or within a different time frame.
2.       After initially reporting to the probation office, you will receive instructions from the Court or the probation officer about
         how and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.       You must not knowingly leave the federal judicial district where you are authorized to reside without first getting
         permission from the Court or the probation officer.
4.       You must answer truthfully the questions asked by your probation officer.
5.       You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
         living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before
         the change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must
         notify the probation officer within 72 hours of becoming aware of a change or expected change.
6.       You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the
         probation officer to take any items prohibited by the conditions of your supervision that he or she observes in plain
         view.
7.       You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer
         excuses you from doing so. If you do not have full-time employment you must try to find full-time employment, unless
         the probation officer excuses you from doing so. If you plan to change where you work or anything about your work
         (such as your position or your job responsibilities), you must notify the probation officer at least 10 days before the
         change. If notifying the probation officer at least 10 days in advance is not possible due to unanticipated
         circumstances, you must notify the probation officer within 72 hours of becoming aware of a change or expected
         change.
8.       You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone
         has been convicted of a felony, you must not knowingly communicate or interact with that person without first getting
         the permission of the probation officer.
9.       If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.      You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e.,
         anything that was designed, or was modified for the specific purpose of causing bodily injury or death to another
         person such as nunchakus or tasers).
11.      You must not act or make any agreement with the law enforcement agency to act as a confidential human source or
         informant without first getting the permission of the court.
12.      If the probation officer determines that you pose a risk to another person (including an organization), the probation
         officer may require you to notify the person about the risk and you must comply with that instruction. The probation
         officer may contact the person and confirm that you have notified the person about the risk.
13.      You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy
of this judgment containing these conditions. For further information regarding these conditions, see Overview of Probation
and Supervised Release Conditions, available at: www.uscourts.gov.


Defendant’s Signature ___________________________________________                                 Date ______________________
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                                         SPECIAL CONDITIONS OF SUPERVISION



1.       You must participate in a program of testing and treatment for substance abuse, as directed by the probation officer,
         and follow the rules and regulations of that program until such time as you are released from the program by the
         probation officer, and shall pay at least a portion of the cost according to your ability, as determined by the probation
         officer.

2.       You must not use or possess any controlled substances without a valid prescription. If you have a valid prescription,
         you must follow the instructions on the prescription. You must not possess, use, or sell marijuana or any marijuana
         derivative (including THC) in any form (including edibles) or for any purpose (including medical purposes). You are
         also prohibited from entering any marijuana dispensary or grow facility.

3.       You must not use/possess any alcoholic beverages and shall not frequent any establishments whose primary purpose
         is the sale/serving of alcohol.

4.       You must participate in a program of mental health treatment, as directed by the probation officer, and follow the rules
         and regulations of that program, until such time as you are released from the program by the probation officer, and
         must pay at least a portion of the cost according to your ability, as determined by the probation officer.

5.       You must provide the probation officer with access to any requested financial information and authorize the release
         of any financial information. The probation office will share financial information with the U.S. Attorney’s Office.
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                                                CRIMINAL MONETARY PENALTIES1

        The defendant must pay the total criminal monetary penalties under the Schedule of Payments on the
following pages.
               Assessment                                             Fine                                         Restitution

                   $200.00                                       $1,500.00                                               -0-
                                                         ($750.00 as to each count)

9        The determination of restitution is deferred until __________. An Amended Judgment in a Criminal Case
         (AO 245C) will be entered after such determination.

9        The defendant shall make restitution (including community restitution) to the following payees in the
         amount listed below.

If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment,
unless specified otherwise in the priority order or percentage payment column below. However, pursuant to 18
U.S.C. § 3664(i), all nonfederal victims must be paid before the United States is paid.

Name of Payee                          Total Loss                   Restitution Ordered                     Priority or Percentage



9        Restitution amount ordered pursuant to plea agreement:                         $

9        The defendant must pay interest on restitution and/or a fine of more than $2,500, unless the restitution or fine is paid
         in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
         options in the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.
         § 3612(g).

9        The Court determined that the defendant does not have the ability to pay interest and it is ordered that:
         9 the interest requirement is waived for the fine.
         9 the interest requirement is waived for the restitution.
         9 the interest requirement for the fine is modified as follows:
         9 the interest requirement for the restitution is modified as follows:




                   1
                    Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
         committed on or after September 13, 1994, but before April 23, 1996.
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                                                         SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

A        :         Lump sum payment of $200.00 due immediately, balance due
                   9 not later than ________, or
                   9 in accordance with 9 C, 9 D, 9 E, or 9 F, below; or
B        9         Payment to begin immediately (may be combined with C, D, or F, below); or
C        9         Payment in equal _____________ (e.g., weekly, monthly, quarterly) installments of $___________ over a
                   period of ___________ (e.g., months or years), to commence ____________ (e.g., 30 or 60 days) after the
                   date of this judgment, or
D        9         Payment in equal ____________ (e.g., weekly, monthly, quarterly) installments of $ __________ over a period
                   of __________ (e.g., months or years), to commence ___________ (e.g., 30 or 60 days) after release from
                   imprisonment to a term of supervision; or
E        9         Payment during the term of supervised release will commence within ________ (e.g., 30 or 60 days) after
                   release from imprisonment. The court will set the payment plan based on an assessment of the defendant’s
                   ability to pay at that time; or
F        :         Special instructions regarding the payment of criminal monetary penalties:

         The restitution and/or fine is to be paid in minimum quarterly installments of $25.00 based on IFRP
         participation, or minimum monthly installments of $20.00 based on UNICOR earnings, during the period of
         incarceration, to commence 60 days after the date of this judgment. Any balance due upon commencement
         of supervision shall be paid, during the term of supervision, in minimum monthly installments of $50.00 to
         commence 60 days after release from imprisonment. The defendant shall apply all monies received from
         income tax refunds, lottery winnings, judgments, and/or any other anticipated or unexpected financial gains
         to any outstanding court-ordered financial obligations.

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes imprisonment,
payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary penalties, except those
payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to the Clerk of
the Court, 399 Federal Building, 110 Michigan N.W., Grand Rapids, MI 49503, unless otherwise directed by the court, the
probation officer, or the United States Attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

9        Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
corresponding payee, if appropriate:

9        The defendant shall pay the cost of prosecution.
9        The defendant shall pay the following court cost(s):
9        The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine
principal, (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
